                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

REC Marine Logistics, LLC,         )                        CIVIL ACTION
Plaintiff                          )
                                   )                         NO.2:19-cv-11149-LMA-DMD
versus                             )
                                   )
DeQuincy R. Richard                )                        JUDGE Africk
Defendant                          )                        MAGISTRATE (3)
___________________________________)

    MEMORANDUM IN SUPPORT OF DEFENDANTS’ COUNSEL’S MOTION TO
        REVERSE AND ELIMINATE COURT’S ORDERED SANCTIONS

        The Court’s order of 5th February sanctioning counsel is inexplicable as Counsel is

unaware of any infraction of the Court’s rules, and was only representing his clients’ interests in

this litigation concerning production and inspection of the M/V Dustin Danos, which throughout

this litigation and at the time of the order for inspection, was not in fact in the control or

command of any party in the litigation including, Offshore Transport Services, LLC, the naked

owner of the vessel.

        According to the attached sworn Affidavit of Mr. Todd Danos, participant and manager

of Offshore Transport Services, LLC, attached here as Exhibit I, the command and control of

this vessel passed months previously (February 2019) pursuant to a charter contract between

Offshore Transport Services, LLC, to Talos Energy located in Texas. Accordingly, no defendant

in the instant litigation ever had command or control of the vessel, and no legal means to produce

it on demand. Counsel announced this situation during the initial fall conference with the Court

which established the trial and other cut off dates. The Court may not have actually understood

that no one in this litigation had the legal right to command the vessel. The situation also

benefitted the Plaintiff, as he repeatedly tried to push Defendants around over production of the

vessel that no one in the suit, or state controlled. After considerable effort, undersigned Counsel
and his clients, recently convinced the charterer, Talos, to permit Plaintiff’s expert, Mr. Borison,

to board the vessel, but he only stayed about thirty minutes. Prior queries to Plaintiff’s counsel

had indicated Plaintiff’s Counsel wanted to bring several people onto the vessel, and that it

would require three to four hours. Counsel now wonders if this was simply a feint which would

give Plaintiff more to complain about. If so, it apparently worked, but it may mean that the case

will have to be tried to resolve the issues. In any event, undersigned Counsel, is wondering what

sanctions were based upon, and moves for their removal.



                                              Respectfully Submitted,

                                              //Fred E. Salley

                                              BY:________________________________
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                                              Marine Logistics, LLC

                           CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing has
been served on all counsel of record by facsimile, receipt
requested, or by depositing same in the United States Postal
Service, properly addressed and postage prepaid this 13 th Day of
February 2020

       .
                                              s/ Fred E. Salley
                                              _____________________________
                                              FRED E. SALLEY, T.A. (11665)
